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       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
                                                      )
       MICHAEL DARDASHTIAN, individually and on       )
       behalf of COOPER SQUARE VENTURES, L L C        )
       NDAP, LLC and CHANNEL REPLY, LLC               )
                                                      )
                                Plaintiffs,           )
                                                      )
                -against-                             )
                                                      )
       DAVID GITMAN, JEREMY FALK, SUMMIT              )
       ROCK HOLDINGS, LLC, ACCEL                      )
       COMMERCE, L L C, DAL VA VENTURES, L L C,       )
       KONSTANTYN BAGAIEV, OLESKSII                   )
       GLUKHAREV and CHANNELREPLY, INC.               )
                                                      )
                                                      )
                                Defendants.           ) Case No. 17 CV 4327 (LLS) (RWL)
                                                      )
                                                      )
       DAVID GITMAN, individually, and on behalf of   )
       COOPER SQUARE VENTURES, LLC, and               )
       NDAP, LLC                                      )
                 Counterclaim Plaintiffs,             )
                                                      )
                -against-                             )
                                                      )
       MICHAEL DARDASHTIAN                            )
                                                      )
                          Counterclaim Defendant.     )
                                                      )

                                   MOTION TO WITHDRAW AS COUNSEL




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                  PLEASE TAKE NOTICE, that for all of the reasons stated in the declaration of Brian S.

        Cousin, Esq., (ECF No. 111-1), and hereby incorporated by reference, individually, 1 and upon all

        prior proceedings herein, Mark D. Meredith, Esq. will move this Court before the Honorable

        Robert W. Lehrburger, United States Magistrate Judge for the Southern District of New York, at

        the Courthouse located at 500 Pearl Street, New York, New York 10007 on November 11, 2019

        at 10:00 a.m. or as soon thereafter as counsel can be heard, for:

                  1.       An Order allowing Mark D. Meredith, Esq., to withdraw as counsel of record for

         Defendants David Gitman, Accel Commerce, LLC, Dalva Ventures, LLC, and ChannelReply,

         Inc., and Counterclaim plaintiffs David Gitman, individually, and on behalf of Cooper Square

         Ventures, LLC and NDAP, LLC (together, “Defendants-Counterclaimants”), pursuant to Local

         Rule 1.4 and Model Rules of Professional Conduct Rule 1.16;

                  2.       An Order granting Defendants thirty (30) days to retain new counsel;

        and

                  3.       Such other and further relief as to the Court deems just and proper.


       Dated: New York, New York
              October 18, 2019

                                                               / s / Mark D. Meredith
                                                               Mark D. Meredith, Esq.
                                                               McDERMOTT, WILL
                                                               & EMERY LLP
                                                               340 Madison Avenue
                                                               New York, New York 10173
                                                               Telephone: (212) 547-5602
                                                               mmeredith@mwe.com




1
  Brian S. Cousin, Esq. filed a Motion to Withdraw as Counsel (ECF No. 111) on September 27, 2019. The motion was
made individually and on behalf of Dentons US LLP. To the extent required, Mr. Meredith and Ms. Ditlow are now filing
their individual Motions to Withdraw separately. Mr. Meredith and Ms. Ditlow are no longer affiliated with Dentons US
LLP.

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                                                Atto
                                                  r neys fo   r    Defendants David
                                                Gitman, Accel Commerce, LLC, Dalva
                                                Ventures, LLC, ChannelReply, Inc. and
                                                Counterclaim Plaintiffs David Gitman,
                                                individually, and on behalf of Cooper
                                                Square Ventures, LLC and NDAP,
                                                LLC




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